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5

6    Attorney for Defendant
     ELISABET PEREZ
7

8
                                   UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:14-CR-00326-GEB
                                                  )
12                                                )   STIPULATION REGARDING
                            Plaintiff,            )   EXCLUDABLE TIME PERIODS
13                                                )   UNDER THE SPEEDY TRIAL ACT;
             vs.                                  )
14                                                )   [PROPOSED] FINDINGS AND ORDER
     ELISABET PEREZ,                              )
15                                                )   DATE: March 18, 2016
                            Defendant.            )   TIME: 9:00 a.m.
16                                                )   JUDGE: Garland E. Burrell, Jr.
                                                  )
17

18           Plaintiff United States of America, by and through Special Assistant United

19   States Attorney Josh F. Sigal, and defendant Elisabet Perez, by and through counsel
20
     Scott L. Tedmon, hereby agree and stipulate as follows:
21
         1. By previous order, this matter was set for status conference on March 18,
22
             2016 at 9:00 a.m.
23

24       2. By this stipulation, the parties now move to continue the status conference to

25           Friday, April 8, 2016 at 9:00 a.m., and to exclude time between March 18,
26
             2016 and April 8, 2016 under Local Code T4.
27
         3. The parties agree and stipulate, and request the Court find the following:
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             a) On March 11, 2016, the Court ordered that Scott L. Tedmon be substituted


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1                 in as counsel of record for defendant Elisabet Perez, replacing former
2
                  counsel of record Jennifer C. Noble.
3
             b) Mr. Tedmon needs additional time to obtain and review defendant
4
                  Elisabet Perez’s case, which includes government produced discovery.
5

6                 The government has previously represented the discovery in this case

7                 includes approximately 182 pages of documents, including investigative
8
                  reports and audio recordings. This discovery has been produced directly
9
                  to former defense counsel Jennifer C. Noble and/or made available for
10
                  inspection. Additionally, Mr. Tedmon needs time to review the currently
11

12                proposed plea agreement, research the sentencing guidelines, and consult

13                with defendant Elisabet Perez regarding the implications of a plea of
14
                  guilty or proceeding to trial.
15
             c) Mr. Tedmon believes the failure to grant the above-requested continuance
16
                  would deny him reasonable time necessary for effective preparation,
17

18                taking into account the exercise of due diligence.

19           d) Based on the foregoing, the ends of justice served by continuing the case
20
                  regarding defendant Elisabet Perez as requested outweigh the best
21
                  interest of the public and defendant Elisabet Perez in a speedy trial within
22
                  the original date prescribed by the Speedy Trial Act.
23

24           e) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

25                3161, et seq., within which trial must commence, the time period of March
26
                  18, 2016 to April 8, 2016, inclusive, is deemed excludable pursuant to 18
27
                  U.S.C. § 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a
28
                  continuance granted by the Court at defendant Elisabet Perez’s request on


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                                                   2
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1                 the basis of the Court’s finding that the ends of justice served by taking
2
                  such action outweigh the best interest of the public and defendant
3
                  Elisabet Perez in a speedy trial.
4
         4. Nothing in this stipulation and order shall preclude a finding that other
5

6            provisions of the Speedy Trial Act dictate that additional time periods are

7            excludable from the period within which a trial must commence.
8
             IT IS SO STIPULATED.
9
     DATED: March 16, 2016                        BENJAMIN B. WAGNER
10                                                United States Attorney
11
                                                  /s/ Josh F. Sigal
12                                                JOSH F. SIGAL
                                                  Special Assistant U.S. Attorney
13
     DATED: March 16, 2016                        LAW OFFICES OF SCOTT L. TEDMON
14

15                                                /s/ Scott L. Tedmon
                                                  SCOTT L. TEDMON
16                                                Attorney for Defendant Elisabet Perez
17

18
                                         FINDINGS AND ORDER
19

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             IT IS SO FOUND AND ORDERED.
21
     Dated: March 18, 2016
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     Stipulation; [Proposed] Findings and Order                        Case No. 2:14-CR-00326-GEB
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